     Case 2:13-cr-00096-RHW            ECF No. 1086         filed 06/28/16     PageID.3709 Page 1 of 2
 PROB 12C                                                                              Report Date: June 27, 2016
(6/16)

                                       United States District Court                                         FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                                   Jun 28, 2016
                                        Eastern District of Washington                                 SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Steven Edwin Bronowski                   Case Number: 0980 2:13CR00096-RHW-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: October 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 6 months;                Type of Supervision: Supervised Release
                          TSR - 60 months

 Revocation               Prison - 12 months;
 Sentence:                TSR - 48 months

 Revocation               Prison - 7 months;
 Sentence:                TSR - 41 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: October 2, 2015
 Defense Attorney:        Richard D. Wall                   Date Supervision Expires: March 1, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 12/22/2015, 12/29/2015, and 6/17/2016 and request a
WARRANT.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            6           Mandatory Condition # 2:

                        Supporting Evidence: On June 26, 2016, the U.S. Probation Office in Spokane,
                        Washington, received an automated notification indicating that Mr. Bronowski’s name had
                        been run by the Spokane Police Department and subsequently the Spokane County Jail. The
                        undersigned officer conducted a search for Mr. Bronowski on the Spokane County Jail
                        website and learned that he had been arrested and booked into the jail on one count of City
                        Assault Domestic Violence, in violation of Spokane municipal code section 10.11.010, a
                        Gross Misdemeanor.
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                      On June 27, 2016, the undersigned officer received the police report in reference to the
                      above described incident which detailed law enforcement’s response to the offender’s
                      address, after receiving an anonymous 9-1-1 call which indicated that Mr. Bronowski’s
                      girlfriend had been “beaten up” by the offender. After an investigation of the incident, law
                      enforcement observed a cut and some bruising under the eye of the offender’s girlfriend.
                      Mr. Bronowski was subsequently contacted behind the residence and arrested for the
                      incident.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     June 27, 2016
                                                                            s/ Chris Heinen
                                                                            Chris Heinen
                                                                            U.S. Probation Officer


 THE COURT ORDERS
 [ ]   No Action
 [ 9]  The Issuance of a Warrant
 [ ]   The Issuance of a Summons
 [ ]   The incorporation of the violation(s) contained in this petition
       with the other violations pending before the Court.
 [ ]   Defendant to appear before the Judge assigned to the case.
 [ ]   Defendant to appear before the Magistrate Judge.
 [ ]   Other


                                                                            Signature of Judicial Officer

                                                                                   +VOF 
                                                                            Date
